                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


BLAKE LIVELY,

                          Plaintiff,
      v.
                                                 No. 1:24-cv-10049-LJL
WAYFARER STUDIOS LLC, a Delaware Limited         (Consolidated with 1:25-cv-00449-
Liability Company, JUSTIN BALDONI, an            LJL)
individual, JAMEY HEATH, an individual,          rel. 1:25-cv-00779-LJL
STEVE SAROWITZ, an individual, IT ENDS
WITH US MOVIE LLC, a California Limited
Liability Company, MELISSA NATHAN, an
individual, THE AGENCY GROUP PR LLC, a
Delaware Limited Liability Company, JENNIFER
ABEL, an individual, JED WALLACE, an
individual, and STREET RELATIONS INC., a
California Corporation,

                          Defendants.



WAYFARER STUDIOS LLC, a Delaware Limited
Liability Company, JUSTIN BALDONI, an
individual, JAMEY HEATH, an individual, IT
ENDS WITH US MOVIE LLC, a California
Limited Liability Company, MELISSA NATHAN,
an individual, and JENNIFER ABEL, an
individual, and STEVE SAROWITZ, an individual,

                          Plaintiffs,
      v.

BLAKE LIVELY, an individual, RYAN
REYNOLDS, an individual, LESLIE SLOANE, an
individual, VISION PR, INC., a New York
Corporation, and THE NEW YORK TIMES
COMPANY, a New York Corporation,

                          Defendants.

NOTICE OF VISION PR, INC. AND LESLIE SLOANE’S MOTION TO DISMISS THE
AMENDED COMPLAINT, FOR ATTORNEYS’ FEES AND COSTS, AND TO STRIKE
                              EXHIBIT A
       PLEASE TAKE NOTICE that for the reasons stated in the Memorandum of Law submitted

herewith, Leslie Sloane and Vision PR, Inc., by and through their attorneys, Boies Schiller Flexner

LLP, hereby move this Court before the Honorable Lewis J. Liman, United States District Judge,

at the United States Courthouse, 500 Pearl Street, New York, New York 10007, Courtroom 15C,

for an order (1) dismissing the claims against them with prejudice pursuant to Federal Rule of Civil

Procedure 12(b)(6); (2) awarding them attorneys’ fees and costs under New York’s anti-SLAPP

law; and (3) striking Exhibit A to the Amended Complaint pursuant to Federal Rule of Civil

Procedure 12(f).



Dated: February 20, 2025

                                              Respectfully submitted,

                                              BOIES SCHILLER FLEXNER LLP

                                              /s/ Sigrid S. McCawley
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